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                               DISCLOSURE STATEMENT

            Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, these

      scholars of international law as Amici Curiae hereby certify that they are

      individuals.

                                                    /s/ Thomas M. Sobol___________
                                                    Thomas M. Sobol
                                                    Counsel for Amici Curiae Scholars of
                                                    International Law




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